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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
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UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                            ORDER

       The United States and Colorado Plaintiffs (“Plaintiffs”) contend that Google has engaged

in spoilation of evidence by failing to preserve relevant Google Chat messages. Google denies the

charge. Its defense rests in part on the issuance of an initial litigation hold memorandum and

subsequent reminder memoranda to various document custodians (collectively, “Hold

Memoranda”). The Hold Memoranda, Google contends, “explicitly instructed” custodians “to not

use messaging apps going forward, including Google Chat, to discuss topics covered by the legal

hold,” and to ensure “that the messages were preserved” if they did use chats to discuss relevant

matters. Google Mem. in Opp’n to Pls.’ Mot. for Sanctions, ECF No. 529 [hereinafter Google

Sanction Mot.], at 26. Plaintiffs seek to compel Google to produce the Hold Memoranda.
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       The court ordered the parties to submit supplemental briefing “setting forth their positions

as to whether the litigation-hold and reminder memoranda are protected by either the attorney-

client privilege or the work product doctrine.” Order, ECF No. 586 at 2; DOJ Pls.’ Position Stmt.,

ECF No. 591, at 2 [hereinafter DOJ Mot.]; Colorado Pls.’ Position Stmt., ECF No. 592 [hereinafter

Colorado Mot.]; Google’s Position Stmt., ECF No. 593 [hereinafter Google Mot.]. Having

considered the parties’ positions, the court orders Google to disclose those portions of the Hold

Memoranda that reflect Google’s instructions regarding the preservation and use of relevant

Google Chats.

                                                 I.

       The court has reviewed Google’s Hold Memoranda in camera and finds that, as a general

matter, they are protected by the attorney-client privilege. See Neighborhood Assistance Corp. of

Am. v. Dep’t of Hous. and Urb. Dev., 19 F. Supp. 3d 1, 22 (D.D.C. 2013) (observing that “litigation

hold letters are generally privileged”). DOJ Plaintiffs suggest that, if the Hold Memoranda are

merely “forceful instructions about what [employees] must do, rather than advice about what they

might do,” they are not protected communications. DOJ Mot. at 2 (quoting Bagley v. Yale Univ.,

318 F.R.D. 234, 240 (D. Conn. 2016)). Even assuming such distinction has legal significance,

based on the court’s review, Google’s Hold Memoranda are more than mere “forceful

instructions.” They contain actual legal advice that is subject to the privilege.

                                                 II.

       The court’s privilege determination does not, however, end the inquiry. Plaintiffs argue

that, even if the Hold Memoranda are privileged, “Google has waived objections to discovery of

its litigation hold procedures” by arguing that it took “reasonable steps to preserve relevant




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documents.” 1 Colorado Mot. at 3 (quoting Google Sanction Mot. at 5–6); DOJ Mot. at 3 (“Google

nonetheless waived any privilege when it made the litigation hold central to its spoilation

defense.”). They contend that Google put at issue “the detail of its legal hold with regard to ‘chats

specifically,’ the contents of its legal hold, and the instructions given to custodians.” Colorado

Mot. at 4; DOJ Mot. at 1.

         “Under the common-law doctrine of implied waiver, the attorney-client privilege is waived

when the client places otherwise privileged matters in controversy.” In re Kellogg Brown & Root,

Inc., 796 F.3d 137, 145 (D.C. Cir. 2015). “The purpose of the implied waiver doctrine is to prevent

‘an abuse of the privilege,’ that is, to prevent the confidentiality protected by the privilege from

being used ‘as a tool for manipulation of the truth-seeking process.’” Minebea Co. v. Papst, 355

F. Supp. 2d 518, 522 (D.D.C. 2005) (quoting In re Sealed Case, 676 F.2d 793, 807 (D.C. Cir.

1982).

         Google has placed portions of the Hold Memoranda at issue here. In opposing Plaintiffs’

motion for sanctions, Google argues that it took “reasonable steps” to preserve evidence by

“issu[ing] written preservation notices to document custodians,” “explicitly instruct[ing] its

employees on legal hold to not use message apps going forward, including Google Chat, to discuss

topics covered by the legal hold—and additionally instruct[ing] them, if they did still use such

apps, to ensure that the messages were preserved, such as by turning history ‘on.’” Google

Sanction Mot. at 25–26. Plaintiffs are entitled to see these instructions. Google “cannot be

allowed, after disclosing as much as [it] pleases, to withhold the remainder.” Kellogg Brown, 796

F.3d at 145 (quoting In re Sealed Case, 676 F.2d at 807).


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 Plaintiffs also argue that their “demonstration of spoilation” entitles them to discovery of the Hold Memoranda.
Colorado Mot. at 4; DOJ Mot. at 2–3. Because the court concludes that Google has waived the privileged, it need not
determine whether Plaintiffs have made a “preliminary showing” of spoliation. See Major Tours, Inc. v. Colorel,
No. 05-cv-3091 (JSB/JS), 2009 WL 2413631, at *3 (D.N.J. Aug. 4, 2009).

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       Google responds that “[t]his is not a situation where Google is opting as a matter of strategy

to rely on communications to advance a reliance-on-counsel defense . . . to rebut Plaintiffs’

antitrust theories,” and it argues that the privilege is not waived because “Google discussed these

communications, to a limited extent, only to respond to Plaintiffs’ inquiries about its preservation

practices and the briefing on this motion.” Google Mot. at 4. Fair enough. But an essential

component of Google’s efforts to stave of sanctions is that it acted in good faith by instructing its

employees how to use and preserve potentially relevant Google Chats. Google cannot shield those

instructions from Plaintiffs when it has put them directly at issue.

                                                IV.

       Google nevertheless contends that any waiver only covers “the portions of the

communications where chats preservation is discussed.” Id. at 2. The court agrees. “[V]oluntary

disclosure in a federal proceeding . . . generally results in a waiver only of the communication or

information disclosed.” FED. R. EVID. 502(a) advisory committee’s note to 2007 amendment.

Accordingly, the court will compel Google to produce only those portions of the Hold Memoranda

that reflect its instructions to custodians about the preservation and use of Google Chats.

       For the reasons stated, by July 5, 2023, Google shall submit to the court in camera its

proposed redactions to the Hold Memoranda. The court will then order Google to produce the

redacted Hold Memoranda as submitted, or as amended by the court.




Dated: June 28, 2023                                         Amit P. Mehta
                                                      United States District Court Judge




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